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EXHIBIT F
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UNITED STATES DISTRICT COURT
DISTRICT OF SOUTH DAKOTA

 

SOUTHERN DIVISION
DEBBIE PLUCKER, Civ, 12-4075
Plaintiff,
DEFENDANT’S ANSWERS TO
vs, PLAINTIFF’S REQUESTS FOR
ADMISSION TO DEFENDANT
UNITED FIRE & CASUALTY COMPANY, (FIRST SET)
Defendant.

 

 

TO: PLAINTIFF DEBBIE PLUCKER AND HER ATTORNEYS OF RECORD, ROBERT
TRZYNKA AND MICHAEL BORNITZ:

United Fire & Casualty Company (“United Fire”), by and through its counsel of record,
answers Plaintiff's Requests for Admission to Defendant (First Set) as follows:

1, Admit that an insurance company cannot put its interests ahead of its
policyholder’s interests.

ANSWER: United Fire objects to the foregoing Request for Admission on the grounds
that it seeks an admission as to a matter which is wholly a legal conclusion and is beyond
the scope of FRCP 36. United Fire further objects to the foregoing Request for Admission
on the grounds that it is overly broad, vague, ambiguous, irrelevant and not reasonably
calculated to lead to the discovery of admissible evidence. Without waiving said objections,
admit that an insurance company must give equal consideration to the interests of its
insured when making a decision to settle a third-party claim.

a Admit that an insurance company must conduct a reasonable investigation of its
policyholder’s claims.

ANSWER: United Fire objects to the foregoing Request for Admission on the grounds
that it seeks an admission as to a matter which is wholly a legal conclusion and is further
beyond the scope of FRCP 36. United Fire further objects to the foregoing Request for

Admission on the grounds that it is overly broad, vague and ambiguous. Without waiving
said objections, admit.

3. Admit that the policyholder is not responsible for investigating his or her own
claims,
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ANSWER: _ United Fire objects to the foregoing Request for Admission on the grounds
that it seeks an admission as to a matter which is wholly a legal conclusion and is beyond
the scope of FRCP 36. United Fire further objects to the foregoing Request for Admission
on the grounds that it is overly broad, vague and ambiguous. Without waiving said
objections, admit that an insurance company has the duty to conduct a reasonable
investigation of its policyholder’s claims. The insured has the duty is to cooperate with the
investigation.

4, Admit that an insurer cannot shift the duty to investigate to the insured.

ANSWER: United Fire objects to the foregoing Request for Admission on the grounds
that it seeks an admission as to a matter which is wholly a legal conclusion and is beyond
the scope of FRCP 36. United Fire further objects to the foregoing Request for Admission
on the grounds that it is overly broad, vague and ambiguous. Without waiving said
objections, admit that an insurance company has a duty to conduct a reasonable
investigation of its policyholder’s claims. The insured has a duty under the policy to
cooperate with the investigation.

5 Admit that an insurance company cannot treat its policyholder as an adversary
during the claims handling process.

ANSWER: United Fire objects to the foregoing Request for Admission on the grounds
that it seeks an admission as to a matter which is wholly a legal conclusion and is beyond
the scope of FRCP 36. United Fire further objects to the foregoing Request for Admission
on the grounds that it is overly broad, vague and ambiguous. Without waiving said
objections, admit that the insurance company and policy holder owe each other the duty of
good faith and fair dealing. An insurance company, however, is permitted to challenge
claims that are fairly debatable.

6. Admit that part of the claims examiner’s job is to assist the insured through the
steps of his or her claim.

ANSWER: United Fire objects to the foregoing Request for Admission on the grounds
that it seeks an admission as to a matter which is wholly a legal conclusion and is beyond
the scope of FRCP 36. United Fire further objects to the foregoing Request for Admission
on the grounds that it is overly broad, vague and ambiguous. Without waiving said
objections, admit.

7. Admit that the claims examiner is responsible for assuring appropriate
investigations are conducted into all aspects of coverage.

ANSWER: United Fire objects to the foregoing Request for Admission on the grounds
that it seeks an admission as to a matter which is wholly a legal conclusion and is beyond
the scope of FRCP 36. United Fire further objects to the foregoing Request for Admission
on the grounds that it is overly broad, vague and ambiguous. Without waiving said

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objections, admit that an insurance company has a duty to conduct a reasonable
investigation of its policyholder’s claims and the existence of available coverage under the
applicable policy.

8. Admit that when coverage cannot be determined immediately, the rights of the
insured must be protected by a written document explaining her rights.

ANSWER: United Fire objects to the foregoing Request for Admission on the grounds
that it seeks an admission as to a matter which is wholly a legal conclusion and is beyond
the scope of FRCP 36. United Fire further objects to the foregoing Request for Admission
on the grounds that it is overly broad, vague and ambiguous. Without waiving said
objections, admit that the insurance company and policy holder owe each other the duty of
good faith and fair dealing. Admit that an insurance company has the duty to conduct a
reasonable investigation of its policyholder’s claims and the existence of available coverage
under the applicable policy.

9. Admit that an insurer’s failure to promptly or thoroughly investigate a claim does
not permit an insurer to delay or deny the claim due to lack of information.

ANSWER: United Fire objects to the foregoing Request for Admission on the grounds
that it seeks an admission as to a matter which is wholly a legal conclusion and is beyond
the scope of FRCP 36. United Fire further objects to the foregoing Request for Admission
on the grounds that it is overly broad, vague and ambiguous. Without waiving said
objections, admit.

10. Admit that all negotiations between an insurer and insured should be prompt, fair,
and conducted in the utmost good faith.

ANSWER: United Fire objects to the foregoing Request for Admission on the grounds
that it seeks an admission as to a matter which is wholly a legal conclusion and is beyond
the scope of FRCP 36. United Fire further objects to the foregoing Request for Admission
on the grounds that it is overly broad, vague and ambiguous. Without waiving said
objections, admit that negotiations between an insurer and insured should be prompt, fair
and conducted in good faith.

li. Admit that the claims file must contain detailed documentation of each action
taken and all work performed on a claim.

ANSWER: United Fire objects to the foregoing Request for Admission on the grounds
that it seeks an admission as to a matter which is wholly a legal conclusion and is beyond
the scope of FRCP 36. United Fire further objects to the foregoing Request for Admission
on the grounds that it is overly broad, vague and ambiguous. Without waiving said
objections, admit that an insurer’s claim file should reasonably document its claims
adjusting activities.
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12. Admit that contact between an insurer and insured should always be confirmed in
writing.

ANSWER: United Fire objects to the foregoing Request for Admission on the grounds
that it seeks an admission as to a matter which is wholly a legal conclusion and is beyond
the scope of FRCP 36, United Fire further objects to the foregoing Request for Admission
on the grounds that it is overly broad, vague and ambiguous. Without waiving said
objections, deny.

13. Admit that all telephonic conversations between an insurer and insured must be
recorded.

ANSWER: United Fire objects to the foregoing Request for Admission on the grounds
that it seeks an admission as to a matter which is wholly a legal conclusion and is beyond
the scope of FRCP 36. United Fire further objects to the foregoing Request for Admission
on the grounds that it is overly broad, vague and ambiguous, Without waiving said
objections, deny.

14. Admit that all telephonic conversations between an insurer’s agents and an
insured should be documented.

ANSWER: United Fire objects to the foregoing Request for Admission on the grounds
that it seeks an admission as to a matter which is wholly a legal conclusion and is beyond
the scope of FRCP 36. United Fire further objects to the foregoing Request for Admission
on the grounds that it is overly broad, vague and ambiguous. Without waiving said
objections, deny.

15. | Admit that an insurance company cannot refuse to pay medical payments owed
under a first-party automobile insurance policy to avoid the cost of subrogation.

ANSWER: United Fire objects to the foregoing Request for Admission on the grounds
that it seeks an admission as to a matter which is wholly a legal conclusion and is beyond
the scope of FRCP 36. United Fire further objects to the foregoing Request for Admission
on the grounds that it is overly broad, vague and ambiguous, Without waiving said
objections, admit.

16. Admit that the Health Insurance Claim Form (FORM CMS-1500) is a
standardized form for a healthcare provider to submit medical expenses to an insurance
company.

ANSWER: United Fire objects to the foregoing Request for Admission on the grounds
that it seeks an admission as to a matter which is wholly a legal conclusion and is beyond
the scope of FRCP 36. United Fire further objects to the foregoing Request for Admission
on the grounds that it is overly broad, vague and ambiguous. Without waiving said
objections, admit that Health Insurance Claim Form 1500 (FORM CMS-1500) is a

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standardized form approved by the National Uniform Claim Committee and used to
process medical bills.

17, Admit that United Fire & Casualty Company accepts Health Insurance Claim
Forms (FORM CMS-1500) from submitting healthcare providers.

ANSWER: United Fire objects to the foregoing Request for Admission on the grounds
that it is overly broad, vague and ambiguous. Without waiving said objection, admit.

18. Admit that Health Insurance Claim Form (FORM CMS-1500) contains the
following language: “12. PATIENT’S OR AUTHORIZED PERSON’S SIGNATURE I
authorize the release of any medical or other information necessary to process this claim. I also
request payment of government benefits either to myself or to the party who accepts
assignment.”

ANSWER: Admit.

19. Admit that the following language from the standardized Health Insurance Claim
Form (FORM CMS-1500) allows an insurance company to obtain any medical records from a
submitting healthcare provider necessary to process the claim made with the Health Insurance
Claim Form (FORM CMS-1500): “12. PATIENT’S OR AUTHORIZED PERSON’S
SIGNATURE | authorize the release of any medical or other information necessary to process
this claim. I also request payment of government benefits either to myself or to the party who
accepts assignment.”

ANSWER: United Fire objects to the foregoing Request for Admission on the grounds
that it seeks an admission as to a matter which is wholly a legal conclusion and is beyond
the scope of FRCP 36. United Fire further objects to the foregoing Request for Admission
on the grounds that it is overly broad, vague and ambiguous. Without waiving said
objections, deny.

20. | Admit that United Fire & Casualty Company has relied on the following language
from the standardized Health Insurance Claim Form (FORM CMS-1500) to obtain medical
records from a submitting healthcare provider: “12. PATIENT’S OR AUTHORIZED
PERSON’S SIGNATURE I authorize the release of any medical or other information necessary
to process this claim. I also request payment of government benefits either to myself or to the
party who accepts assignment.”

ANSWER: United Fire objects to the foregoing Request for Admission on the grounds
that it is overly broad, vague and ambiguous. Without waiving said objection, deny.

21. Admit that United Fire & Casualty Company knew it could rely on the following
language from the standardized Health Insurance Claim Form (FORM CMS-1500) to obtain
medical records from a submitting healthcare provider: “12. PATIENT’S OR AUTHORIZED
PERSON’S SIGNATURE I authorize the release of any medical or other information necessary

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to process this claim. I also request payment of government benefits either to myself or to the
party who accepts assignment.”

ANSWER: _ United Fire further objects to the foregoing Request for Admission on the
grounds that it is overly broad, vague and ambiguous. Without waiving said objection,
deny.

22. Admit that it internally developed the medical release it provided to Debbie
Plucker.

ANSWER: Admit that United Fire developed the “Authorization for Release of Medical
Information,” Bates Stamp UF 110.

23. Admit that Medicare has its own standardized form for obtaining medical records.

ANSWER: United Fire objects to the foregoing Request for Admission on the grounds
that it seeks an admission as to a matter which is wholly a legal conclusion and is beyond
the scope of FRCP 36. United Fire further objects to the foregoing Request for Admission

on the grounds that it is overly broad, vague and ambiguous. Without waiving said
objections, admit.

24. Admit that according to the Paperwork Reduction Act of 1995, no persons are

required to respond to a collection of information for Medicare purposes unless the form displays
a valid OMB control number.

ANSWER: United Fire objects to the foregoing Request for Admission on the grounds

that it seeks an admission as to a matter which is wholly a legal conclusion and is beyond
the scope of FRCP 36.

25. Admit that the medical release United Fire & Casualty Company asked Debbie
Plucker to sign did not contain an OMB control number.

ANSWER: Admit that the “Authorization for Release of Medical Information” sent on
May 26, 2011, did not contain an OMB control number.

26. Admit that under the standardized Medicare medical release the patient has the
right to revoke authorization at any time.

ANSWER: United Fire objects to the foregoing Request for Admission on the grounds
that it seeks an admission as to a matter which is wholly a legal conclusion and is beyond
the scope of FRCP 36. United Fire further objects to the foregoing Request for Admission
on the grounds that it is overly broad, vague and ambiguous, Without waiving said
objections, United Fire has insufficient information at this time to admit or deny as it is
unclear to what “standardized Medicare medical release” the foregoing Request for
Admission refers.
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27. Admit that United Fire has a compensation committee.

ANSWER: United Fire objects to the foregoing Request for Admission on the grounds

and that it is overly broad, vague and ambiguous. Without waiving said objection, admit
that the Board of Directors for United Fire Group has a Compensation Committee.

28. Admit that United Fire’s compensation committee makes decisions regarding
compensation, including, but not limited to United Fire’s annual incentive plan.

ANSWER: United Fire objects to the foregoing Request for Admission on the grounds
and that it is overly broad, vague and ambiguous. Without waiving said objection, admit
that the Compensation Committee makes some decisions regarding compensation, but in
all other respects deny.

29. Admit that United Fire uses its annual incentive plan to achieve critical corporate,
branch and department goals.

ANSWER: United Fire objects to the foregoing Request for Admission on the grounds
and that it is overly broad, vague and ambiguous. Without waiving said objection, deny
that the plan achieves goals but rather provides recognition that certain goals have been
achieved.

30. Admit that United Fire uses business unit targets based on losses and loss
settlement expenses, including loss ratios, as a performance indicator to measure achievement
under its annual incentive plan.

ANSWER: United Fire objects to the foregoing Request for Admission on the grounds
and that it is overly broad, vague and ambiguous. Without waiving said objection, admit.

31. | Admit that United Fire uses business unit loss ratios as a performance indicator
because using business unit loss ratios is a good measure of United Fire’s profitability.

ANSWER: United Fire objects to the foregoing Request for Admission on the grounds
and that it is overly broad, vague and ambiguous. Without waiving said objection, admit.

32. | Admit that United Fire calculates loss ratios by dividing net premiums earned by
net losses incurred plus allocated loss settlement expenses paid.

ANSWER: United Fire objects to the foregoing Request for Admission on the grounds
and that it is overly broad, vague and ambiguous. Without waiving said objection, admit.

33, Admit United Fire uses cost center expense targets as a performance indicator to
measure achievement under its annual incentive plan.
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ANSWER: United Fire objects to the foregoing Request for Admission on the grounds

and that it is overly broad, vague and ambiguous. Without waiving said objection, the
targets are an indicator of the company’s results and accordingly deny.

34. | Admit that United Fire uses cost center expense targets as a performance indicator
because using cost center expense targets is a good measure of United Fire’s profitability.

ANSWER: United Fire objects to the foregoing Request for Admission on the grounds
and that it is overly broad, vague and ambiguous. Without waiving said objection, admit.

35. Admit that Tom Diefendorf was an employee of United Fire in July of 2011.
ANSWER: Admit.

36. Admit that Tom Diefendorf received an email from Kathy Justice regarding
Plaintiff's medical payments claim to United Fire.

ANSWER: Upon information and belief, admit that Tom Diefendorf received Exhibit A.

37. Admit that Tom Diefendorf spoke with Ms. Justice regarding Plaintiff's medical
payments claim to United Fire.

ANSWER: Upon information and belief, admit.

38. | Admit the document attached herein as Exhibit A is a true and correct copy of the
email sent by Ms. Justice to Mr. Diefendorf.

ANSWER: Upon information and belief, admit.

39. Admit that Mr. Diefendorf did not forward this email to any other individuals at
United Fire.

ANSWER: United Fire is unable to admit or deny as Tom Diefendorf does not recall
what he did, if anything, with Ms. Justice’s email.
 

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Dated this | Y day of July 2014.

MAY & JOHNSON, P.C.

yc Lett

Lon J. Kouri

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Attorneys for Defendant

CERTIFICATE OF SERVICE

The undersigned hereby certifies that a true and correct copy of the foregoing Defendant’s
Answers to Plaintiff’s Requests for Admission to Defendant (First Set) was served via U.S.
Mail, postage prepaid, upon Michael D. Bornitz and Robert D. Trzynka, Cutler & Donahoe, LLP,
100.N. Phillips Avenue, P.O. Box 1400, Sioux Falls, SD 57101-1400, attorneys for Plaintiff, this

/ 1 day of July 2014.

By S Jp 2  —

Eric D. DeNure
